 

Case 1:08-cv-01675-RWR Document5 Filed 10/16/08 Page

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IN THE UNITED STATES DISTIRCT COURT
FOR THE DISTRlCT OF COLUMBIA

KENNETH A. HINTON
Plaintiff,

V.

Civil No. l:08-cv-01675 (RWR)
COMPUCREDIT CORPORATION
Defendant.

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PLAINTIFF’S FIRST AMENDMENT TO COMPLAINT

Now comes, the Plaintiff, Kenneth A. Hinton, pro se, who hereby submits his
First Amendment to his original complaint filed on or about September 10, 2008 via the
Defendant’s request for transfer from the D.C. Superior Court, as filed in that Court on or
about June 30, 2008 against the Defendant CompuCredit and hereby further alleges as
follows:

1. This is an action under Sections 15 U.S.C. 1681, et seq, of the Fair Credit
Reporting Act, 5(a) and 13(b) of the Federal Trade Commission Act (“FTC Act”), 15
U.S.C. §§ 45(a) and 53(b); and Sections 806-807 and 814 of the F air Debt Collection l
Practices Act (“FDCPA”), 15 U.S.C. §§ l692d-l692e and 16921. Through this action, the
Plaintitf hereby requests redress, recompense and equitable relief, including rescission
and reformation of contracts, restitution, and disgorgement, against CompuCredit
Corporation (“Defendant”), for engaging in unfair or deceptive acts or practices in
violation of Section 15 U.S.C. 1681, et seq, of the F air Credit Reporting Act; 5(a) of the
FTC Act, as amended, and for engaging in acts or practices in violation of the FDCPA,
15 U.S.C. §§ l692-1692p, et seq, as amended,

JURISDICTION AND VENUE
2. This Court has subject matter jurisdiction over this matter pursuant to 15
U.S.C. §§ 45(a), 53(b) and 16921, and 28 U.S.C. §§ 1331, 1337(a) and 1345.

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Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 2 of 19

3. Venue is proper in the United States District Court for the District of Columbia

under 28 U.S.C. §§ 1391(b) and (c), and 15 U.S.C. § 53(b).
PARTIES

4. Plaintiff, Kenneth A. Hinton is a resident presently domiciled in the District of
Columbia and engages in commerce in the State of Virginia as well as in the jurisdiction
of this Court,

5. Defendant CompuCredit Corporation (“CompuCredit”) is a Georgia
corporation that maintains its principal place of business in Atlanta, Georgia.
CompuCredit transacts or has transacted business in the Northern District of Georgia.

6. Defendant CompuCredit has acted as a common enterprise while engaging in
deceptive acts and practices, and other violations of law in connection with marketing
Majestic Visa credit cards and the collection of defaulted Aspire credit card receivables.

7. CompuCredit is incorporated at the same address and at relevant times has
shared common officers, and CompuCredit has formulated, directed, controlled or had
authority to control, or participate in the acts and practices of. CompuCredit has marketed
the Maj estic Visa credit card and/or other financial products through a unified marketing
program or programs that relied on the interrelationship between the companies.
CompuCredit’s Aspire Visa program, as well as other programs in which CompuCredit
marketed high-fee credit cards playing an integral role in collecting the charged-off
receivables (often including assessed fees) that CompuCredit generated through its
Aspire Visa cards. Because CompuCredit has acted as a common enterprise, it liable for
the deceptive acts and practices and other law violations alleged below that they have
undertaken as a common enterprise The common enterprise transacts or has transacted
business in the District of Columbia and in Northern District of Georgia and a substantial
part of the events or omissions giving rise to the claims asserted herein has occurred in

the District of Columbia and in Northern District of Georgia.

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 3 of 19

8. The acts and practices of Defendants alleged in this Complaint have been in or
affecting the Plaintiff who engages in various business and consumer commerce, as
“commerce” is defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

DEFENDANTS’ COURSE OF CONDUCT

9. CompuCredit provides various consumer credit products and related financial
services in the subprime credit market. These products and services include, but are not
limited to, credit cards, stored value cards, payday lending, auto-financing, and debt
collection. Jefferson Capital collects consumer debts it has purchased from creditors and
other debt collectors and consumer debts owed to third parties.

10. CompuCredit’s credit card business consists principally of marketing, lending,
servicing and debt collection activities. Through contractual arrangements with various
banks, CompuCredit has marketed subprime credit cards to Plaintiff` under multiple brand
names, including but not limited to “Aspire,” “Aspire A Mas,” “FreedomCard,”
“Tribute,” “Imagine,” “Majestic,” “Aspen,” “Emerge” and “Fingerhut Credit
Advantage.” The banks with which CompuCredit has contracted to market these cards
include but are not limited to Columbus Bank & Trust Company (“CB&T”), which has
issued a significant number of CompuCredit’s subprime cards. The banks with which
CompuCredit has contracted are supervised by various federal banking agencies,
including but not limited to the Federal Deposit insurance Corporation (“FDIC”), the
Office of Thrift Supervision (“OTS”), and the Office of the Comptroller of the Currency
(“OCC”).

11. Under one or more of these contracts, CompuCredit has had the sole and
exclusive right to solicit applications for certain credit cards; has created, designed, and
distributed the marketing materials; established the credit cards’ terms and conditions;
developed the underwriting and credit criteria; administered the card prograrns;
maintained customer service f`unctions; and purchased all account receivables (except for
a one-time sum that has been retained by the bank, e.g., in the case of CB&T, $l million),
including fees, finance charges and principal balances on purchases and cash advances
CompuCredit has assumed the costs and risks for administering the credit card programs,

and has represented and Warranted to the banks, and has assumed contractual

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 4 of 19

responsibility for ensuring, that all solicitation materials and the terms and conditions for
its credit cards comply with all applicable laws

12. The banks with which CompuCredit has contracted have been the issuers of
the credit cards and have had authority to review and approve the credit cards’ terms and
conditions, underwriting and credit criteria, and solicitation materials As the issuing
banks, they have initially owned the account receivables but on a daily basis, have
transferred to CompuCredit 100% of the account receivables (except for a one-time sum
that has been retained by the bank, e.g., in the case of CB&T, $l million). Overview

13. Since at least 2001 , CompuCredit has marketed general purpose Visa credit
cards to English-speaking and Spanish-speaking Plaintiff across the country under several
brand names under agreements with one or more banks

14. In numerous instances, as discussed below, CompuCredit misrepresented the
credit limits on its credit cards, failed to disclose the up-front fees charged for some of its
credit cards, and failed to disclose how certain transactions could adversely affect the
available credit on the credit cards With regard to one of its programs, CompuCredit
misrepresented that Plaintiff would receive immediately a credit card if they agreed to
transfer an existing debt to the credit card.

15. The “Aspire” Visa and “Majestic” Visa programs, issued by CB&T, and their
solicitations discussed below, are typical and illustrative of CompuCredit’s business
practices

l6. The Aspire brand comprises two or more product lines, including what
CompuCredit internally has named “Little Rock” accounts and “Core” accounts
CompuCredit markets “Little Rock” accounts to Plaintiff with credit ratings on the lower
end of the subprime spectrum. CompuCredit markets “Core” accounts to Plaintiff with
credit ratings that generally are below prime, but which are higher than those of Plaintiffs
who are offered the Little Rock card.

17. CompuCredit markets its “Majestic” Visa product to Plaintiff with unpaid
debt that has been charged-off by a prior creditor. Marketing the Aspire Little Rock Visa

Program

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 5 of 19

18. Since approximately 2001 , CompuCredit has marketed its Aspire Little Rock
Visa cards through numerous direct-mail solicitations inbound and outbound
telemarketing, and on the Internet, including at www.aspireyes.com.

19. As described below, CompuCredit’s written solicitations for the Aspire Little
Rock Visa Card misled Plaintiffs into believing that they would receive a Visa credit card
With $300 in available credit. In addition, CompuCredit failed to disclose adequately
significant up-front fees it charged Plaintiffs. ln fact, CompuCredit assessed
approximately $185 in up-front fees and reduced the available credit to $l 15.
CompuCredit’s ultimate disclosure of the fees in its accompanying Summary of Terms
did not cure the deception.

20. CompuCredit has originated more than two million Aspire Little Rock Visa
card accounts for Plaintiffs who responded to these solicitations assessing approximately
$185 in up-front fees at origination. More than l.l million Plaintiffs activated their
accounts Direct Mail Solicitations

21. In numerous instances CompuCredit has sent direct mail solicitations to
Plaintiffs nationwide representing that consumer’s who received the solicitation had been
“Pre-Qualified” for an unsecured Visa credit card with no deposit required, no deposit
fee, and/or no application fee.

22. In a typical and illustrative direct mail solicitation package, CompuCredit has
included a one-page cover letter; a one-page document entitled “Visa Pre-Qualified
Acceptance Certificate”; a folded insert entitled “Introducing: the Aspire Visa Card,”
which is a different size and on a different color paper; and a double-sided document with
one side entitled “Summary of Credit Terms” and the other side entitled “Terms of
Offer.” CompuCredit has arranged these materials in such a way that, as they are
removed from the envelope, the cover letter faces outward in one direction and the “Visa
Pre-Qualified Acceptance Certificate” (which includes the Plaintiii0 s mailing address that
appears in the envelope’s address window) faces outward in the other direction, with the
remaining materials sandwiched between them.

23. On a typical and illustrative direct mail solicitation envelope, CompuCredit
has represented, in bold text, set aside from other text, and in a font larger than much of

the text of the contents of the envelope: We think you deserve more credit!

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 6 of 19

In addition, CompuCredit has represented on the envelope, in bold text, set aside from
other text, and in a font larger than much of the text of the contents of the envelope<
You’re Pre-Qualified! No Deposit Required

24. In a typical and illustrative direct mail solicitation package, CompuCredit also
has represented, in the cover letter, at the top of the page, set aside from other text, and in
bold: You’re Pre-Qualified! Unsecured Visa card! Credit line increase within 6
months when you make your payments on time**! No deposit required! Rebuild
your credit After the heading described above, CompuCredit further states “You have
been PRE-QUALIFIED* for the Aspire Visa card with a credit limit of $300*. . . .
And unlike a secured credit card, your Aspire Visa does not require a deposit.” At
the bottom of the page, in a smaller font than the representations described above and the
main text of the letter, CompuCredit has included several disclaimers including a
disclaimer after the “*” symbol instructing Plaintiffs to “[s]ee the enclosed insert which is
incorporated here by reference, for a Summary of Credit Terrns and Terrns of Offer. This
offer is subject to further review of financial information Your available credit line may
be reduced by certain fees that will be billed directly to your account, including an annual
fee, an account opening fee, and an account maintenance fee, as described in the
Summary of Credit Terms.” The disclaimers after the “**” and “T” symbols explain,
respectively, that Plaintiff who make four minimum monthly payments on time and
remain in good standing will receive a credit line increase and that CompuCredit will
report the Plaintiff’s account balance to the three major credit bureaus CompuCredit
makes no other mention of fees in this typical and illustrative cover letter,

25. In a typical and illustrative direct mail solicitation package, CompuCredit also
has represented, in the one-page document entitled “Visa Pre-Qualified Acceptance
Certificate,” in bold text, set aside from other text, and in a font larger than the other text:
No Deposit Fee, No Application Fee, Pre-Qualified CompuCredit makes no other
mention of fees in this typical and illustrative document entitled “Visa Pre-Qualified
Acceptance Certificate.”.

26. In a typical and illustrative direct mail solicitation package, CompuCredit also

has represented, in the insert, in bold text, set aside from other text: Benefits

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 7 of 19

No deposit required Regular account review for credit line increases Acceptance at over
25 million locations worldwide and at the bottom of the page, set aside from other text, in
bold: You’re Pre-Qualified!

CompuCredit makes no mention of fees in this typical and illustrative insert,

27. The “Summary of Credit Terrns” included in a typical and illustrative direct
mail solicitation package has included a “Schumer box” which reflected, in a small font,
and printed among other information, an “Annual Fee” (typically $150), an “Account
Opening Fee” (typically $29), and a “Monthly Maintenance Fee” (typically $6.50 or
$7.50). This information has not been as clear or prominent as, or in any proximity to,
CompuCredit’s representations set forth above about the fees that did not apply.

28. As a result, CompuCredit did not inform the Plaintiff about applicable fees
nor did they explain that the Plaintiffs’ $300 credit limit would be reduced by these fees
resulting in an available credit limit of approximately $115.

29. In a typical and illustrative direct mail solicitation, CompuCredit has
instructed Plaintiff who are interested in requesting an Aspire Visa card to complete and
return the “Acceptance Certificate,” or for faster processing, to call a toll-free telephone
number or visit CompuCredit at www.aspireyes.com.

30. Although CompuCredit modified certain aspects of its solicitations over time,
the modifications discussed below, did not cure the misleading and/or deceptive claims

31. For example, at or near the end of 2004, CompuCredit added a notation below
the Schumer box that calculated the amount of available credit that would remain after
CompuCredit deducted its fees. However, the footnote was printed in small, compact
text; was placed below another footnote describing an unrelated issue (the Plaintiff" s
“Pre-Qualified Status”); and was “dangling” i.e., not linked to any text in the Schumer
box. The modification did not substantially alter the solicitation and did not cure the
misleading impression created by the rest of the solicitation that Plaintili`s would receive
$300 in available credit when they received the card. See, e.g., Attachrnent B [Aspire
Little Rock Visa direct mail solicitation with March 3, 2005 return date].

32. At or near mid-2005, CompuCredit changed the footnotes on the cover letter
so that only one larger footnote appeared, referring Plaintiffs to the reverse side of the

letter for “important information,” including “fee and credit limit details” The reverse

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 8 of 19

side of the cover letter, however, did not provide the promised details but referred
Plaintiff to the “Summary of Credit Terms.” These modifications did not inform many
Plaintiffs about the applicable fees and that the credit limit would be reduced by these
fees in a manner that Plaintifi`s could understand or notice.

33. At or near the beginning of 2006, CompuCredit eliminated all reference to
“fee and credit limit details” from the front of the cover letter, and changed the reverse
side of the cover letter to state that Plaintiffs’ credit lines “will” be reduced by certain
fees. These modifications did not inform many Plaintiffs about applicable fees in a
manner that Plaintiffs could understand or notice.

Telemarketing

34. F or those Plaintiff who have called the toll-free number to apply for a Little
Rock card, in numerous instances telemarketers following CompuCredit provided
Scripts have not disclosed the fees that are applicable unless asked. Instead, CompuCredit
telemarketers following the scripts have told Plaintiff they were required to “send your
$20 first payment in order to use your card.”

35. In some instances even if Plaintiffs have requested that a phone agent verify
the terms and conditions of the card, agents responded by providing a lengthy explanation
of the APR, including how the APR is calculated based on the prime rate, where in the
Wall Street Journal the prime rate is published and on what day, as well as the mechanics
of calculating increases in the APR based on the prime rate in the event of serious
delinquency.

36. ln numerous instances Plaintiff who have applied for the Little Rock Visa
card online have been required to navigate through eight screens provide sensitive
personal inforrnation, and actually apply for the card, without ever being informed of the
fees Only after completing these steps have the fees been disclosed on a screen that asks
Plaintiff to accept the card offer.

Card Fulfillment Materials

37. In numerous instances after Plaintiffs have completed the application process

and have been approved for a Little Rock Visa card, CompuCredit has mailed them a

fulfillment package including a credit card that has not been activated; a card carrier page

 

Case 1:08-cv-01675-RWR Document 5 Filed 10/16/08 Page 9 of 19

with a perforated payment coupon at the bottom; a return-payment envelope; and a copy
of the Bank Credit Card Agreement.

38. In a typical and illustrative fulfillment package, CompuCredit has represented,
on the top half of the card carrier page, in boldfaced print:
Your New Aspire Visa Gold Card Has Arrived ........ To Begin Using it.....
l. Make your $20 initial payment*. . .
2. Allow 7-10 days for payment processing
3. Call to verify receipt of your card, . . .
4. Your card is now fully activated and is ready to be used. Separate from these
representations the card carrier states “Activate Your Card Today!” Below these
representations is a perforation line and an instruction to detach and return the lower part
with the initial payment. Although the card carrier instructs Plaintiff to “Make your $20
initial payment*,” there is nothing on the front of the card carrier page explaining what
the asterisk means The front of the card carrier page does state, in small type just above
the perforation line, “See Summary of Terms and any additional disclosures on the back.”
The reverse side of the card carrier page reflects in a small font, in a box with other
information, an “Annual Fee” (typically $150), an “Account Opening Fee” (typically
$29), and a” Monthly Maintenance Fee” (typically $6.50 or $7.50). This information has
not been as clear or prominent as or in any proximity to, CompuCredit’s representations
set forth above.

39. ln numerous instances Plaintiff who received this typical and illustrative card
carrier were led to believe that they were obligated to make only a $20 payment, not $185
in up-front fees for the card, Marketing the Aspire Core Visa Program

40. Since at least 2001, CompuCredit has marketed Aspire Core Visa cards
through numerous direct-mail solicitations inbound telemarketing, and on the Internet,
including at www.aspireyes.com.

41. As described below, CompuCredit’s written solicitations for the Aspire Core
Visa card mislead Plaintiffs into believing that they would receive credit cards with
available credit up to a certain amount and that the card could be used for any purpose,
including cash advances In fact, CompuCredit withheld half of the available credit until

the fourth month after card activation. Further, CompuCredit used a behavior scoring

 

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 10 of 19

model to review cardholders’ use of the card and it reduced cardholders’ credit limits if
the cardholders used their cards for certain purposes including one of the touted benefits
of the card, obtaining cash advances

42. CompuCredit has originated more than four million Aspire Core Visa credit
card accounts for Plaintiff who responded to these solicitations

Direct Mail Solicitations

43. Since at least 1997, CompuCredit has sent to Plaintiffs nationwide Core Visa
card direct mail solicitations representing that Plaintiffs were “Pre-Qualified” to receive
an Aspire Visa card.

44. In a typical and illustrative Aspire Core Visa card direct mail solicitation
package sent to Plaintiff from at least 2001 through at least early 2005, CompuCredit
included a double-sided cover letter, a one-page document entitled “Visa Gold Pre-
Qualified Acceptance Certificate,” and a double-sided document with one side entitled
“Summary of Credit Terms” and the other side entitled “Terms of Offer.” CompuCredit
has arranged these materials in such a way that, as they are removed from the envelope,
the cover letter faces outward in one direction and the “Visa Pre-Qualified Acceptance
Certificate” (which includes the consumer’s mailing address that appears in the
envelope’s address window) faces outward in the other direction, with the remaining
materials sandwiched between them.

45. On a typical and illustrative Core Visa card direct mail solicitation envelope
sent to Plaintiff through at least early 2005, CompuCredit represented, in bold text, set
aside from other text, and in a font larger than much of the text of the contents of the
envelope: No Annual Fee No Application Fee Credit line up to: $3,250 to Plaintiff
through at least early 2005, CompuCredit also represented, on the front side of the letter;
YOU have earned a new Aspire Visa Gold card. It can be used at millions of places
around the world, and it costs you nothing to send for your card, No deposit feel No
application fee! Great credit line! Use your new credit card to buy the things you
want right away, or to get money from most cash machines
At the bottom of the page, in a smaller font than the representations described above and
the main text of the letter, CompuCredit has included several disclaimers including a

disclaimer after the “*” symbol instructing Plaintiff to “[s]ee the enclosed insert which is

10

 

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 11 of 19

incorporated here by a reference for a Summary of Credit Terms and Terms of Offer.
This offer is subject to further review of financial information.” The only other disclaimer
on the page, in a small font, after the “‘j'” symbol, explains that certain restrictions
limitations and exclusions may apply to promised benefits such as auto rental insurance
and extended warranty service.

47. On the back side of the typical and illustrative Core Visa card direct mail
solicitation cover letter sent to Plaintiff through at least early 2005, CompuCredit also
represented: Great Credit Line up to the total on the Acceptance Certificate. Plus as
long as you are an active customer in good standing, we will review your account for
increases periodically. At the bottom of the page, in a smaller font than the
representations described above and the main text of the letter, CompuCredit has
included disclaimers including a disclaimer after the “*” symbol instructing Plaintiff to
“[s]ee the enclosed insert which is incorporated here by a reference for a Summary of
Credit Terms and Terms of Offer. This offer is subject to further review of financial
information.” T he only other disclaimer on the page, in a small font, after the “7"”
symbol, states that certain restrictions limitations and exclusions may apply.

48. In a typical and illustrative Core Visa card direct mail solicitation sent to
Plaintiff through at least early 2005, CompuCredit also represented, in the one-page
document entitled “Visa Pre-Qualified Acceptance Certificate,” in bold text, set aside
from other text, and in a font larger than the other text: No Annual Fee No Application
Fee Credit line up to: $3,250 There are no disclaimers on the Acceptance Certificate.

49. None of the documents included in the typical and illustrative direct mail
solicitation package sent to Plaintiff through early 2005 disclosed that CompuCredit
would permit Plaintiff to use only half of the credit line they purportedly had been
granted until the fourth month after card activation, or that CompuCredit might decrease
the credit line based on how Plaintiff used their cards

50. In early 2005, CompuCredit revised its Core Visa card direct mail solicitation
cover letter. In at least one revised typical and illustrative cover letter, CompuCredit
represented, on the front side of the letter: YOU have earned a new Aspire Visa Gold
card, It can be used at millions of places around the world, and it costs you nothing

to send for your card.! No deposit*! No application feel Great credit line! **

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Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 12 of 19

Use your new credit card to buy the things you want right away, or to get money from
most cash machines At the bottom of the page, in a smaller font than the representations
described above, CompuCredit included several disclaimers including a disclaimer after
the “*” symbol instructing Plaintiff to “[s]ee the enclosed insert which is incorporated
here by a reference for a Summary of Credit Terms and Terms of Offer. This offer is
subject to further review of financial information.” CompuCredit added a disclaimer on
the bottom of` the page, in a small font, after the “**” symbol, that “[f]ifty percent of your
initial credit limit will be available to you as soon as your card is activated. Provided that
your account had been used and maintained in a satisfactory manner, your entire initial
credit line will be available to you on the first day of the fourth month following your
account opening date.”

51. On the back side, CompuCredit also represented: no deposit Gold card. you
do not have to send any money to get your Visa® Great Credit Line* up to the total
on the Acceptance Certificate. Plus, as long as you are an active customer in good
standing, we will raise the amount as soon as we can. At the bottom of the page, in a
smaller font than the representations described above, CompuCredit has included several
disclaimers including a disclaimer after the “*” symbol, that “[f]ifty percent of your
initial credit limit will be available to you as soon as your card is activated. Provided that
your account had been used and maintained in a satisfactory manner, your entire initial
credit line will be available to you on the first day of the fourth month following your
account opening date.” The “**” symbol instructs Plaintiff to “[s]ee the enclosed insert
which is incorporated here by a reference for a Summary of Credit Terms and Terms of
Offer. This offer is subject to further review of financial information.”

52. On the Terms of Off`er page, CompuCredit represented in a banner at the top
of the page, folded to form a cover for the entire insert:

No Annual Fee ~ Pre-Qualified ' No Hassle The body of the revised Terms of Offer
page contained dense text printed in a small font. In the middle of the page,
CompuCredit inserted a disclaimer that “[w]e reserve the right to change (to set, increase,
decrease or remove) the credit limit for your account and/or for different types of account
balances from time to time. Such changes may occur without prior written notice to you

and may be based upon factors including, but not limited to, anti-fraud policies and

12

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 13 of 19

procedures behavior scoring, your credit history with us or with other creditors and/or
changes in this or other card programs or bank policy.”

53. Although at least one typical and illustrative cover letter revised in early 2005
included the disclaimer that CompuCredit could decrease the credit limit based on
behavior scoring, the disclaimers were not made in a clear and prominent manner that
Plaintiff would understand or notice.

54. In a typical and illustrative Aspire Core Visa card direct mail solicitation,
CompuCredit has instructed Plaintiff who are interested in requesting an Aspire Visa card
to complete and return the “Acceptance Certificate,” or for faster processing, to call a
toll-free telephone number or visit

Intemet
CompuCredit at www.aspireyes.com.

55. For those Plaintiff who called the toll-free number, CompuCredit has
employed a telephone script that avoided disclosure of the fact that CompuCredit would
permit Plaintiff to use only half of the credit line they purportedly had been granted until
the fourth month after card activation, Instead, CompuCredit’s phone agents have first
collected all of the Plaintiff application information, attempted to sell Plaintiff various
services that would be billed directly to the card, and provided a lengthy explanation of
the APR, the grace period, the USA Patriot Act and the method of computing finance
charges before disclosing that the Plaintiff would have access to only half of their credit
line until the fourth month.

Card Fulfillment Materials

56. After Plaintiff who have completed the Core Visa card application process
have been approved, CompuCredit has mailed them a Visa card accompanied by a card
carrier that sets forth, in bold print at the top of the page, the full amount of the credit
limit CompuCredit purportedly has granted. The card carrier also has instructed Plaintiff
on how to activate the card, has set forth, often in bold print, the benefits of using the
card, and has represented in prominent text set apart from other text on the page, “It’s
your credit use it whenever and wherever you want!” In numerous instances however,

the card carrier has not disclosed, or has disclosed inconspicuously in fine print, that

13

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 14 of 19

CompuCredit would permit Plaintiff to use only half of the credit line they purportedly
had been granted until the fourth month after card activation.

57. ln addition, in numerous instances the fulfillment materials have represented,
in boldface type on the front page, that the consumer would enjoy “lnstant Cash access”
as a primary “cardholder benefit[]” after activating the card,

Marketing the Majestic Visa Program

58. Since approximately 2004, CompuCredit has marketed Visa credit cards to
Plaintiff with unpaid debts that have been charged off by prior creditors including debts
that were no longer subject to suit under the applicable statute of limitations and debts
that were no longer being reported by consumer reporting agencies because they were
outside the seven-year limitation period set forth in Section 605 of the FCRA, 15 U.S.C.
§ 1681c.28

59. The “Majestic” Visa program and its solicitations discussed below, are
typical and illustrative of CompuCredit’s business practices in this regard.

60. As described below, CompuCredit’s written solicitations for the Majestic Visa
program mislead Plaintiff who had prior unpaid debts into believing that they
immediately would receive new credit cards with their prior unpaid debts transferred to
the new cards and reported to consumer reporting agencies as paid in full. In truth,
Plaintiff accepting these cards essentially signed up for repayment programs for their old
debt. ln fact, Plaintiff did not qualify for the new cards until they paid 25-50% of their
old debt balances Further, even if they paid the required portion of the old debt balances
the credit lines received only equaled 5% of the original debt amounts

61. CompuCredit has marketed the Majestic Visa card with its wholly-owned debt
collection subsidiary, CompuCredit has sent letters to more than 3.6 million Plaintiff
representing that their charged-off “account has been placed by [a third-party debt
purchaser or creditor] with us for collection” or specifying the amount of a charged-off
debt owed on a consumer’s Aspire Visa account. In these letters CompuCredit has told
Plaintiff that it is “pleased to provide you with an opportunity to satisfy this debt and
enjoy the convenience and benefits of a new Visa card.” Defendant also has represented

that “[w]hen you accept the accompanying offer and are approved, the Amount Due

14

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 15 of 19

shown above will be transferred to a new Majestic Visa account at a fixed 0% APR as the
first transaction on the new account.”

62. Enclosed with these letters has been a CompuCredit Majestic Visa solicitation
insert that has told Plaintiff to “Sign Up Today!” and “Get a new start with the Maj estic
Fresh Start Solution and pre-approved unsecured Visa card. Soon you can enjoy all the
convenience and benefits Visa has to offer.” The solicitation also has told Plaintiff that
the card will have “Available Credit for Purchases and Cash Advances

Servicing Aspire and Majestic Visa Accounts

63. CompuCredit has maintained and serviced Aspire and Majestic Visa accounts
As a credit card account servicer, CompuCredit directly or indirectly collects and
processes Plaintiff payments including annual and monthly maintenance fees and
assesses collects and processes late-payment and over-the limit
fees In addition, CompuCredit provides customer service functions including providing
a customer service telephone number.

Aspire Little Rock Visa Annual and Monthly Maintenance Fees

64. In numerous instances shortly after Plaintiff has received Little Rock Visa
card fulfillment materials the consumer also has received an initial credit card account
statement claiming that the consumer owes a $20 “minirnurn payment.” These statements
also show, for the first time, that the consmner is being charged the full amount of the
annual fee, the account opening fee and the first monthly maintenance fee up-front and
regardless of whether the consumer has actually used the card.

Count I: Denying Plaintiff Access to Half of His Core Visa Credit Lines and
Reducing Plaintiff’s Core Visa Credit Lines

65. In numerous instances CompuCredit has denied Aspire Core Visa card
holders the use of half of the credit lines they purportedly were extended until the fourth
month after the account has been activated.

66. In numerous instances CompuCredit also has reduced Aspire Core Visa card
holders’ credit limits often prior to the fourth month after activation, when CompuCredit
otherwise would have given Plaintiff access to the full credit line CompuCredit

purportedly had extended.

15

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 16 of 19

67. ln some instances CompuCredit reduced subscribers’ credit limits to levels
below their existing balances and then charged over-limit fees
Handling Customer Service Telephone Calls

68. In many instances Plaintiff who has called CompuCredit’s customer service
centers could access only an automated telephone response system that asked for an
account number. Based on the number entered, Plaintiff whose accounts had been
classified as past due was not provided the option to reach a live operator.

69. Regardless of the payment status of Plaintiff accounts in numerous instances
Plaintiff who have called CompuCredit’s customer service centers have been unable to
navigate the phone system in order to reach a live operator. As a result, Plaintiff have
complained that they have been unable to address card-related problems questions or
other issues such as disputing erroneous fees and charges CompuCredit’s failure to
timely post Plaintiff’ payments and requesting cancellation of their cards as a result of
these problems

Debt Collection Practices
Count II: Failure to Disclose Fees

70. In the course and conduct of offering and extending credit under one or more
credit card programs, including but not limited to the Aspire Little Rock Visa program,
CompuCredit has represented, expressly or by implication, among other things that
Plaintiff were “Pre-Qualified” to obtain a specified amount of available credit with “No
deposit required,” “No Deposit Fee,” and “No Application Fee.”

71. CompuCredit has failed to disclose, or has failed to disclose adequately, that it
would impose substantial up-front fees including an annual fee, an account opening fee,
and a monthly maintenance fee,

72. In light of the representations set forth in Paragraph 86, CompuCredit’s failure
to disclose, or failure to disclose adequately, the material information set forth in
Paragraph 87, is a deceptive act or practice in violation of Section 5(a) of the FTC Act,

15 U.S.C. § 45(a).

16

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 17 of 19

Count III: Failure to Disclose How Use of The Credit Card
Adversely Affects Available Credit

73. In the course and conduct of offering and extending credit in one or more
credit card programs, including but not limited to the Aspire Core program, CompuCredit
has represented, expressly or by implication, among other things that Plaintiff have been
“Pre-Qualified” to obtain credit of “up to” a specified limit and that active customers
including the Plaintiff in who was good standing will be considered for periodic increases
in available credit. CompuCredit further has represented that Plaintiff can use the card for
specified transactions and benefits

74. CompuCredit has failed to disclose, or has failed to disclose adequately, that
it was employing a behavioral scoring model that reduced Plaintiff’ credit lines if they
used their cards for certain types of transactions including transactions expressly
mentioned in the solicitations

75. ln light of the representations set forth in Paragraph 89, CompuCredit’s
failure to disclose, or failure to disclose adequately, the material information set forth in
Paragraph 90, is a deceptive act or practice in violation of Section 5(a) of the FTC Act,

15 U.S.C. § 45(a).
Count IV: Misrepresentation of Debt Collection Program to Plaintiff

76. ln the course and conduct of marketing one or more credit cards including
but not limited to the Majestic Visa card, Defendant has represented, expressly or by
implication, among other things that upon acceptance of a consumer’s “Pre-Approved”
application, the consumer would immediately receive a Visa Card, the Plaintifi’s old debt
balance would be immediately transferred to the card and be reported to consumer
reporting agencies as “paid in full,” and the consumer’s formerly charged-off debt would
be satisfied and the consumer would build new credit.

77. In truth and in fact, upon acceptance of Plaintiffs’ pre-approved applications
Defendants have not immediately extended to Plaintiff a Visa card, transferred Plaintiff
old debt balances to the card, reported the old debt as “paid in full” to consumer reporting
agencies and satisfied Plaintiff formerly charged-off debt, allowing them to build new

credit. Therefore, Defendants’ representations as alleged in Paragraph 92 are false or

17

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 18 of 19

misleading Defendants’ practices constitute deceptive acts or practices in or affecting
commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
FAIR DEBT COLLECTION PRACTICES ACT VIOLATIONS

78. 95. In 1977, Congress passed the FDCPA, 15 U.S.C. §§ 1692-1692p, which
became effective on March 20, 1978, and has been in force ever since that date. Section
814 of the FDCPA, 15 U.S.C. § 16921, provides that a violation of the FDCPA shall be
deemed an unfair or deceptive act or practice in violation of the FTC Act.
Count V: Misrepresentations

79. On numerous occasions in connection with the collection of debts
CompuCredit has used false, deceptive, or misleading representations or means in
violation of Section 807(10) of the FDCPA, 15 U.S.C. § 1692e(10), including, but not
limited to, representing expressly or by implication, among other things that upon
acceptance of a consumer’s “Pre-Approved” application, the consumer would
immediately receive a Visa Card, the Plaintiff’ s old debt balance would be immediately
transferred to the card and be reported to consumer reporting agencies as “paid in full,”
and the Plaintiff s formerly charged-off debt would be satisfied and the Plaintiff would
build new credit.

Count VI: Abusive Collection Practices

80. In connection with the collection of debts Defendant has engaged in conduct
the natural consequence of which is to harass oppress or abuse a person, in violation of
Section 806 of the FDCPA, 15 U.S.C. § 1692d, including, but not limited to:

(a) Using obscene or profane language or language the natural consequence of which is to
abuse the hearer, in violation of Section 806(2) of the FDCPA, 15 U.S.C. § 1692d(2); and
(b) Causing a telephone to ring or engaging a person in telephone conversation repeatedly
or continuously with the intent to annoy, abuse, or harass a person at the number called,
in violation of Section 806(5) of the FDCPA, 15 U.S.C. § 1692d(5).
PLAINTIFF INJURY

81. The Plaintiff has suffered, and will continue to suffer, substantial injury as a
result of Defendants’ violations of Section 15 U.S.C. 1681, et seq, of the Fair Credit
Reporting Act and Section 5(a) of the FTC Act and the FDCPA, as set forth above.

18

Case 1:08-cV-01675-RWR Document 5 Filed 10/16/08 Page 19 of 19

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests that the Court, pursuant to Section 13(b) of the FTC
Act, 15 U.S.C. § 53(b), Section 814 ofthe FDCPA, 15 U.S.C. § 16921, and 15 U.S.C.
1681, et seq, of the Fair Credit Reporting Act and the Court’s own equitable powers:

(a) Award the Plaintiff $250,000.00 as for punitive and compensatory damages
respectively and any other such relief as the Court finds necessary to prevent unjust
enrichment and to redress injury to the Plaintiff resulting from Defendants’ violations of
the FCRA, FTC Act and the FDCPA, including but not limited to, rescission or
reformation of contracts restitution, the refund of monies paid, and the disgorgement of

ill-gotten monies and

(b) Award Plaintiff the costs of bringing this action, as well as such other and

additional relief as the Court may determine to be just and proper.

Dated: October 15, 2008

  

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19

